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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 20-cv-23287-DPG

   LUIS MANUEL RODRIGUEZ,
   MARIA TERESA RODRIGUEZ, a/k/a
   MARIA TERESA LANDA,
   ALFREDO RAMON FORNS,
   RAMON ALBERTO RODRIGUEZ,
   RAUL LORENZO RODRIGUEZ,
   CHRISTINA CONROY, and
   FRANCISCO RAMON RODRIGUEZ,

                   Plaintiffs,

   v.

   IMPERIAL BRANDS PLC,
   CORPORACIÓN HABANOS, S.A.,
   WPP PLC, YOUNG & RUBICAM LLC,
   and BCW LLC, a/k/a BURSON COHN &
   WOLFE LLC,

                   Defendants.


                      CORPORATE DISCLOSURE STATEMENT FOR
               DEFENDANTS WPP PLC, YOUNG & RUBICAM LLC, AND BCW LLC

           Defendants WPP plc (“WPP”), Young & Rubicam LLC (“Y&R”), and BCW LLC a/k/a

  Burson Cohn & Wolfe LLC (“BCW”), by and through undersigned counsel, and pursuant to

  Federal Rule of Civil Procedure 7.1, hereby state as follows:

        1. WPP is a publicly traded corporation with no parent corporation. No other publicly held

  corporation owns 10 percent or more of its stock.

        2. The parent company of Y&R is WPP. No other publicly held corporation owns 10

  percent or more of its stock.




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      3. The parent company of BCW is WPP. No other publicly held corporation owns 10

  percent or more of its stock.



  Dated: August 31, 2020                   Respectfully submitted,



                                           s/Naim S. Surgeon
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                                           Attorney for Defendants WPP PLC, YOUNG &
                                           RUBICAM LLC, and BCW LLC, a/k/a BURSON
                                           COHN & WOLFE LLC




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on August 31, 2020, I electronically filed the foregoing

  Corporate Disclosure Statement for Defendants WPP plc, Young & Rubicam LLC, and BCW

  LLC a/k/a Burson Cohn & Wolfe LLC using CM/ECF.                I also certify that the foregoing

  document is being served this day on all counsel of record in this case via transmission of Notice

  of Electronic Filing generated by CM/ECF.


                                                      s/Naim S. Surgeon
                                                      Naim S. Surgeon




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